Case 3:07-cv-00734-REP Document 27 Filed 07/18/08 Page 1 of 17 PagelD# 204

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

THE COMMONWEALTH OF VIRGINIA,
VIRGINIA OFFICE FOR PROTECTION
AND ADVOCACY,
Plaintiff,
Vv. Civil Action No. 3:07cv734
JAMES S. REINHARD, in his
official capacity, etc.

et al.,

Defendants.

MEMORANDUM OPINION

This matter is before the Court on the Renewed Motion to
Dismiss (Docket No. 22) the Complaint filed by the Virginia
Office for Protection and Advocacy (“VOPA”) against James
Reinhard, Denise Micheletti, and Charles Davis in their official
capacities as the directors or officers of the Department of
Mental Health, Mental Retardation and Substance Abuse Services
(“DMHMRSAS”), the Central Virginia Training Center (“CVTC”), and
the Central State Hospital (“CSH”). VOPA alleges that the
Defendants are violating federal law by refusing to grant it
access to records to which it is entitled under its enabling
statutes. Accordingly, VOPA seeks declaratory and injunctive

relief. Defendants argue that the Complaint should be dismissed
Case 3:07-cv-00734-REP Document 27 Filed 07/18/08 Page 2 of 17 PagelD# 205

either under Fed. R. Civ. P. 12(b)(1), on sovereign immunity
grounds, or Fed. R. Civ. P. 12(b)(6), for failure to state a
claim upon which relief can be granted. For the reasons set
forth below, the motion to dismiss will be denied.
BACKGROUND
VOPA is Virginia’s Protection and Advocacy system for

persons with disabilities, a system created under the aegis of

federal statute. See Development Disabilities Assistance and
Bill of Rights Act (*DD Act”) 42 U.S.C. § 15001, et. seg., and
its implementing regulations, 45 C.F.R. § 1385, et. seg.; the

Protection and Advocacy for Individuals with Mental Illness Act
(“PAIMI Act”), 42 U.S.C. § 10801, et. seq. Eligible protection
and advocacy systems, including VOPA, have the authority to
investigate incidents of abuse and neglect of individuals with
developmental disabilities. 42 U.S.C. §§ 15043, 10805; Code of
Va. § 51.5-39.4. Federal law also affords protection and
advocacy systems, such as VOPA, access to the records of

individuals who are the subjects of investigations where certain

 

1 Prior to amendment by Public Law 106-310 in 2000, the Act was
known as the “Protection and Advocacy for Mentally I11
Individuals Act of 1986,” or “PAMII.” See 42 U.S.C.A. § 10801
(Thomson Reuters/West 2008). In 2000, Congress amended the
short title so that the Act is now known as the “Protection and
Advocacy for Individuals with Mental Illness Act” or “PAIMI.”
See id.; Prot. & Advo. for Pers. with Disabilities v. Mental
Health & Addiction Servs., 448 F.3d 119, 120 n.1 (2d Cir.
2006). This opinion shall refer to the Act as the “PAIMI Act,”
as it was alleged in the Complaint, even where an individual
court has described it as PAMII in its opinion.
Case 3:07-cv-00734-REP Document 27 Filed 07/18/08 Page 3 of 17 PagelD# 206

conditions are met, including where there is probable cause to
believe that such individual has been subject to abuse or
neglect. 42 U.S.C. §§ 15043, 10805, 10806.

As alleged in the Complaint, VOPA is seeking records
related to three incidents of deaths and injuries of residents
of CvTC and CSH while in the custody of DMHMRSAS. DMHMRSAS has
refused to provide the requested records, claiming peer review
privilege. VOPA asserts that it is entitled to receive this
information under federal law and that it is unlawful for
DMHMRSAS to restrict VOPA’s ability to conduct statutorily
authorized investigations. VOPA is suing the Commissioner and
the Directors of the respective organizations in their official
capacities and requesting injunctive relief.

Defendants do not challenge the sufficiency of the factual
allegations, but move the Court to dismiss the case on two
grounds. First, Defendants argue that the case should be
dismissed for failure to state a claim under Rule 12(b) (6)
because their refusal to turn over the records comports with a
federal regulation, and thus cannot form the basis for an
allegation of a violation of federal law. Second, Defendants

argue that they are protected by sovereign immunity and that the
case should be dismissed under Rule 12(b) (1). As explained

below, both of these arguments fail.
Case 3:07-cv-00734-REP Document 27 Filed 07/18/08 Page 4 of 17 PagelD# 207

DISCUSSION
A. Standards of Review
1. Failure to State a Claim under Rule 12 (b) (6)
To survive a Rule 12(b) (6) motion, a complaint must contain
“enough facts to state a claim to relief that is plausible on

its face.” Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1974

 

(2007). To meet this standard, “[fJactual allegations must be
enough to raise a right to relief above the speculative level,”
id. at 1965, and critical elements of a claim must be, at a
minimum, “suggested by the facts.” Id. at 1973. A plaintiff
must provide “more than labels and conclusions” and the Court
specifically noted the insufficiency of “a formulaic recitation
of the elements of a cause of action.” Id. at 1965.
Notwithstanding the plausibility requirement of Bell Atlantic,
courts still “should accept as true all well-pleaded allegations
and should view the complaint in a light most favorable to the
plaintiff.” Mylan Labs., Inc. v. Matkari, 7 F.3d 1130, 1134
(4th Cir. 1993).
2. Sovereign Immunity Analysis under Rule 12 (b) (1)

An assertion of sovereign immunity is properly addressed under
Fed. R. Civ. P. 12(b){1). Smith v. Washington Metro. Area
Transit Auth., 290 F.3d 201, 205 (4e8 Cir. 2002). If a
governmental entity challenges jurisdiction under Rule 12(b) (1),

the plaintiff bears the burden of persuasion. Id. A court may
Case 3:07-cv-00734-REP Document 27 Filed 07/18/08 Page 5 of 17 PagelD# 208

address its lack of subject matter jurisdiction in two ways: it
may find insufficient allegations in the pleadings, viewing the
alleged facts in the light most favorable to the plaintiff,
Similar to a 12(b)(6) inquiry; or, after an evidentiary hearing,
the court may weigh the evidence in determining whether the
facts support the jurisdictional allegations. Lovern  v.
Edwards, 190 F.3d 648, 655 (4 Cir. 1999). The parties have
neither requested an evidentiary hearing, nor briefed the
sovereign immunity issue under that mode of analysis, so the
Court will proceed according to the first method.
B. Analysis
1. Sufficiency of the Complaint

Defendants argue that VOPA has not stated a plausible claim
for relief because their refusal to turn over the requested
materials is in compliance with federal regulations; and,
therefore, refusal to turn over the records cannot be a
violation of federal law. Defendants claim that, unless VOPA is
able to prove that the challenged regulations are invalid, VOPA
cannot state a cognizable claim.

VOPA has clearly alleged an ongoing violation of federal
law: that the Defendants refuse to provide records that are
required to be provided to VOPA by the PAIMI and DD Acts. The
Defendants argue that their actions are insulated because their

records are covered by state peer review privilege, Va. Code §§
Case 3:07-cv-00734-REP Document 27 Filed 07/18/08 Page 6 of 17 PagelD# 209

8.01-581.16, 581.17, and by federal regulations which provide
that state law protections for records are not preempted. 42
C.F.R. § 51.41(c) (4), 45 C.F.R. 1386.22(c) (1). The argument of
the Defendants is an affirmative defense to the merits of the
Complaint and, as such, is not appropriate for resolution under
Rule 12(b) (6). “(T]he purpose of Rule 12(b)(6) is to test the
sufficiency of a complaint and not to resolve’ contests
surrounding the facts, the merits of aie claim, or the
applicability of defenses.” Presley v. City of Charlottesville,
464 F.3d 480, 483 (4° Cir. 2006) (internal quotations and
citations omitted).
2. Sovereign Immunity

States enjoy a sovereign immunity from private suits.
Alden v. Maine, 527 U.S. 705 (1999). Much of modern day
sovereign immunity jurisprudence has been developed from the
Eleventh Amendment, but sovereign immunity is broader than the
strictures of the Eleventh Amendment. Id. at 712-13. There are
three dominant exceptions to sovereign immunity. First, Congress
may abrogate sovereign immunity if: (1) ait validly acts
“pursuant to a constitutional provision granting Congress the
power to abrogate”; and (2) it has “unequivocally expressed its
intent to abrogate the immunity.” Seminole Tribe of Florida v.
Florida, 517 U.S. 44, 55, 59 (1996). This exception is not at

issue in this action. Second, states may voluntarily waive
Case 3:07-cv-00734-REP Document 27 Filed 07/18/08 Page 7 of 17 PagelD# 210

sovereign immunity from suit either by explicitly consenting to
suit, or by accepting from Congress a gift or gratuity that is
conditioned on such a waiver. Atascadero State Hosp. v.

Scanlon, 473 U.S. 234, 241 (1985); College Savings Bank v.

 

Florida Prepaid Postsecondary Educ. Expense Bd., 527 U.S. 666
(1999). Finally, federal courts have jurisdiction in certain
cases over suits that seek prospective injunctive relief against
a State officer alleged to be perpetrating an ongoing violation

of federal law. See Ex parte Young, 209 U.S. 123 (1908).

 

a. Waiver by the State

VOPA argues that, given the statutorily defined purpose and
mission of protection and advocacy systems, the text of the DD
Act puts the States on notice that the receipt of “federal funds
to which the protection and advocacy system requirements attach”
constitutes a waiver of sovereign immunity. (Pl.’s Resp. to
Def.‘s Renewed Mot. to Dismiss 7.) The statutory predicate for
VOPA’s position provides that: “Nothing in this title shall
preclude a system from bringing a suit on behalf of individuals
with developmental disabilities against a State, or an agency or
instrumentality of a State.” 42 U.S.C. § 15044(b) (1).

Defendants make a three-pronged argument as to why there is
no waiver: first, the statute does not constitute a waiver of
sovereign immunity; second, if the statute constitutes a waiver

of sovereign immunity, that waiver is limited to instances where
Case 3:07-cv-00734-REP Document 27 Filed 07/18/08 Page 8 of 17 PagelD# 211

VOPA is suing on behalf of another, as compared to this suit
where it is suing in its own name; and third, the waiver is
inapplicable where the protection and advocacy system is a state
agency rather than a non-profit entity.

The analysis of VOPA’s position is informed by several
basic principles. First, it is settled that a wavier of this
sort must be prompted by a Congressional manifestation of “a
clear intent to condition participation in the programs. . . on
a State’s consent to waive its constitutional immunity.” Booth
v. State of Md., 112 F.3d 139, 145 (4° Cir. 1997) (quoting

Atascadero State Hospital v. Scanlon, 473 U.S. 234, 247 (1985)).

 

Second, “[a] waiver must be unequivocally expressed in statutory
text.” Madison v. Virginia, 474 F.3d 118, 130 (4*® Cir. 2006)
(quoting Lane v. Pena, 518 U.S. 187, 192 (1996)). Third, it is

established that general participation in a federal program or
the receipt of federal funds is insufficient to waive sovereign
immunity. Id. (citing Atascadero, 473 U.S. at 246-47).
Finally, consent to suit is never implied and ambiguities are
construed in favor of immunity. Id. at 131 (citing Atascadero,
473 U.S. at 247 and United States v. Nordic Village, Inc., 504
U.S. 30, 34 (1992)).

Cases in which courts have found waiver have involved
statutes with far more explicit provisions than the one VOPA has

cited here. The requisite expression of “a clear intent to
Case 3:07-cv-00734-REP Document 27 Filed 07/18/08 Page 9 of 17 PagelD# 212

condition participation . . . ona State’s consent to waive its
constitutional immunity” cannot be found in the text of §
15044(b) (1). See Hoffman v. Connecticut Dep’t of Income Maint.,
492 U.S. 96 (1989) (finding no clear statement of intent to
waive sovereign immunity and thus no abrogation of sovereign

immunity in § 106 of the Bankruptcy Code); Employees of Dep’t of

 

Public Health and Welfare v. Dep’t of Public Health and Welfare,
411 U.S. 279 (1973) (finding no abrogation of sovereign immunity
under the Fair Labor Standards Act).

VOPA asserts that Defendants’ argument relies on cases in
which plaintiffs sought monetary damages. However, VOPA has
provided no decision which supports a differentiation between
cases involving damages versus those involving injunctive
relief, and the doctrine does not support such a distinction.
VOPA relies on Litman v. George Mason University, 186 F.3d 544
(4%° Cir. 1999), for articulating the standard for determining
waiver through consent. Litman, consistent with other precedent
on the issue, requires clear waiver, with no differentiation
between the type of relief sought. Id. at 550-551 (requiring a
“clear declaration” by the State of its waiver and stating that
“mere receipt of federal funds cannot establish that a State has

consented to suit in federal court”) (internal citations and

quotations omitted).
Case 3:07-cv-00734-REP Document 27 Filed 07/18/08 Page 10 of 17 PagelD# 213

In Litman, the Fourth Circuit found a clear conditional
waiver of sovereign immunity where the relevant statute included
the provision “A State shall not be immune under the Eleventh
Amendment of the Constitution of the United States from suit in
Federal Court for a violation of (select civil rights

statutes].“ 42 U.S.C. § 2000d-7(a) (1). See also Constantine v.

 

Rectors and Visitors of George Mason Univ., 411 F.3d 474, 492
(4° Cir. 2005) (expanding on Litman to find same provision to be
an effective waiver of the Eleventh Amendment). Another example
of a statute that has been considered to establish a clear
waiver of sovereign immunity is 20 U.S.C. § 1403, part of the
Individuals with Disabilities Education Act (“IDEA”), which
provides: “a State shall not be immune under the eleventh
amendment to the Constitution of the United States from suit in
Federal Court for a violation of [the IDEA] .” See VOPA v.
Virginia, 262 F. Supp. 2d 648, 655 (E.D. Va. 2003).

In Madison v. Virginia, the Fourth Circuit analyzed whether
the Religious Land Use and Institutionalized Persons Act of 2000
(“RLUIPA”) contained a provision requiring waiver of sovereign
immunity. 474 F.3d 118 (4*" Cir. 2006). The text of the statute
provided that any person may “assert a violation of this chapter
as a claim or defense in a judicial proceeding and obtain
appropriate relief against a government.” 42 U.S.C. § 2000cc-

2(a). The Court of Appeals found that, by voluntarily accepting

10
Case 3:07-cv-00734-REP Document 27 Filed 07/18/08 Page 11 of 17 PagelD# 214

federal correctional funds in the face of this provision, the
State consented to federal jurisdiction for at least some form
of relief. Madison, 474 F.3d at 131. However, strictly
construing the scope of the waiver, the Fourth Circuit held that
the statute fell short of the “unequivocal textual expression
necessary to waive State immunity from suits for damages,”
explaining that the statute made no reference to monetary relief
or even to sovereign immunity generally. Id.

The provision on which VOPA relies does not create any
right to sue, much less indicate un unmistakable intent to waive
state immunity from any suit. In stating that “[n]Jothing in
this title shall preclude. .. ,” 42 U.S.C. § 15044 {b) (1) simply
indicates an intent not to abrogate any preexisting rights to
sue, but the provision does not create any new rights.
Sovereign immunity would bar VOPA’s ability to bring this
lawsuit if there were no other exception to the immunity.

VOPA also presents a quasi-estoppel theory, arguing that
Defendants should not now be allowed to argue the invalidity of
a provision on which the State has relied to receive federal
funding, but that argument assumes a non-existent position.

Defendants are not arguing that any provision of the PAIMI or DD
Acts is invalid; merely that the Acts contain no unequivocal

statement of consent to suit. The quasi-estoppel argument

11
Case 3:07-cv-00734-REP Document 27 Filed 07/18/08 Page 12 of 17 PagelD# 215

theory is neither persuasive nor useful in deciding the current
motion. ?
b. Ex parte Young

It is uncontested that VOPA has filed this action against
officials in their official capacities, a predicate for the
application of the Ex parte Young exception. Defendants argue
that VOPA has not alleged an on-going violation of federal law.
Defendants claim that they are following a federal regulation
and, consequently, VOPA cannot allege an ongoing violation of
federal law unless it first challenges the regulation. VOPA
argues that its complaint satisfies the Ex parte Young exception
in seeking injunctive relief against officials in their official
capacities for an ongoing violation of federal law and that this
Court must therefore deny the Defendants’ motion.

In determining whether the Ex parte Young doctrine applies,
a court “need only conduct a straightforward inquiry into
whether the complaint alleges an ongoing violation of federal
law and seeks relief properly characterized as prospective.”
Verizon Md., Inc. v. Public Serv. Comm'n, 535 U.S. 635, 645
(2002) (internal quotations omitted). In Verizon, the Supreme
Court overturned the Fourth Circuit's decision that the

plaintiff's claim could not be brought under Ex parte Young

 

* It is not necessary for the Court to address the remainder of
the Defendants’ arguments relating to the waiver issue.

12
Case 3:07-cv-00734-REP Document 27 Filed 07/18/08 Page 13 of 17 PagelD# 216

because the challenged order was probably not inconsistent with
federal law after all. Id. at 646. In doing so, the Court
explained that “the inquiry into whether suit lies under EX
parte Young does not include an analysis of the merits of the
claim.” Id.

Application of the decision in Verizon here necessitates
the conclusion that the action can proceed. First, VOPA has
alleged an ongoing violation of federal law: that Defendants
continue to refuse to provide records as required under the DD
and PAIMI Acts. (“By refusing to provide the access requested by
VOPA, Defendants have violated the DD Act/PAIMI Act and the
regulations promulgated pursuant to it.”) (Compl. 9§ 42, 50.)
As set forth in Part B.1 above, the Complaint here is legally
sufficient. Second, VOPA seeks relief that is properly
characterized as prospective: an injunction that the officials
prospectively release the records. The argument of the
Defendants that they properly relied on the federal regulations
is an argument on the merits of the claim and does not bring
this case outside of the Ex parte Young exception.

Moreover, several courts of appeals have held that conduct
such as that in which the Defendants are engaged violates
federal law and that the cited federal regulations are invalid.
See, e.g., Missouri Prot. & Advo. Servs. v. Missouri Dep't

Mental Health, 447 F.3d 1021 (8th Cir. 2006) (finding that

13
Case 3:07-cv-00734-REP Document 27 Filed 07/18/08 Page 14 of 17 PagelD# 217

interpretation of PAIMI set out in 42 C.F.R. § 51.41l(c)(4) is
unreasonable and that PAIMI preempts Missouri law in upholding
district court’s grant of summary judgment and injunction to DMH
to disclose records) ; Prot. and Advo. for Pers. with
Disabilities v. Mental Health & Addiction Servs., 448 F.3d 119
(2d Cir. 2006) (finding that Congressional intent to give access
to “all records” with PAIMI was clear and therefore finding it
unnecessary to determine whether regulations were a permissible
construction of the statute).

In sum, this action falls within the purview of Ex parte
Young. The motion to dismiss on sovereign immunity grounds
therefore will be denied.

c. Special State Sovereignty Interests

Defendants allege that the claim involves Virginia’s
“special sovereignty interests” which, according to Defendants,
trumps the Ex parte Young exception and compels the Court to
abstain from interfering. Defendants argue that, where there is
a dispute between branches or agencies with a State's government
or between a State and its political subdivisions, federal
courts may not interfere. VOPA argues that Defendants are

seeking to expand the concept beyond the limits established by

the decisions of the Fourth Circuit.
VOPA is correct in asserting that special sovereignty

interests are not at stake in this action. Cases in which a

14
Case 3:07-cv-00734-REP Document 27 Filed 07/18/08 Page 15 of 17 PagelD# 218

federal court should not interfere due to special sovereignty
interests are those in which the federal court is called to
adjudicate issues that are uniquely a state’s concern, most
commonly, the state’s internal budgetary arrangements. See Kelly
v. Metropolitan County Bd. of Educ., 836 F.2d 986, 998, 989 (6c
Cir. 1987) (deeming it inadvisable to adjudicate whether the tax
burden for desegregation would fall on the state at large or
individual school districts as “essentially an internal dispute
between two local governmental entities,” and finding suit
independently barred as “one for the recovery of money from the
state”); Stanley v. Darlington County Sch. Dist., 84 F.3d 707,
716 (4™ Cir. 1996) (declining “to determine the allocation of a

state’s financial resources”); Harris v. Angelina County, 31

 

F.3d 331, 338 (5°" Cir. 1994) (declining to decide a claim for
contribution from a political subdivision of a state against the

state itself).

In contrast, the Court here is being asked to adjudicate a
violation of federal law that does not interfere with the
prerogative of the State. Accordingly, it is appropriate to

follow the Fourth Circuit's decision in Antrican v. Odom and

 

allow the Complaint to proceed. 290 F.3d 178 (4% Cir. 2002).
In Antrican, the Fourth Circuit found that a suit to enjoin

compliance with the Medicaid Act was permissible under the

15
Case 3:07-cv-00734-REP Document 27 Filed 07/18/08 Page 16 of 17 PagelD# 219

Eleventh Amendment. Finding the Defendants’ claim of “special

sovereignty interests” inapplicable, the Court explained:
This case, however, does not present a
special sovereignty interest that would
allow North Carolina to use its sovereign
immunity shield to avoid an otherwise proper
EX parte Young action. Rather, it involves a
federally designed healthcare program in
which the federal government has invited the
States to participate if they agree to
certain federally established conditions. “A
State's interest in administering a welfare
program at least partially funded by the

federal government is not such a core
sovereign interest as to preclude’ the

application of Ex parte Young.”

Id. at 189 (citations omitted).

As in Antrican, this case involves a federally designed
program for persons with disabilities and mental health issues
in which the federal government has invited the States to
participate if they agree to certain federally established
conditions. Defendants would have this Court refrain from
deciding any cases brought by a state agency against another
state agency. However, Defendants have cited no decision which
supports such a broad rule. It is the nature of the issue to be
decided, not who brings suit, that potentially implicates
special sovereignty interests. Indeed, many of the PAIMI cases
cited by both sides were brought by the relevant state’s
protection and advocacy system, and obviously adjudicated

despite the presence of state agencies on opposing sides. See

16
Case 3:07-cv-00734-REP Document 27 Filed 07/18/08 Page 17 of 17 PagelD# 220

Missouri Prot. & Advo. Servs. v. Missouri Dep’‘t of Mental
Health, 447 F.3d 1021 (8 Cir. 2006); Prot. & Advo. for Persons
with Disabilities v. Mental Health & Addiction Servs., 448 F.3d
119 {2d Cir. 2006) {stating that “OPA is a_ state-created
agency”).*? No special sovereignty interests are implicated in
this action that would compel this Court to abstain from
adjudication, and the case may proceed.
CONCLUSION
For the foregoing reasons, it is hereby ORDERED that the

Renewed Motion to Dismiss (Docket No. 22) will be denied.

It is so ORDERED.

/s/ LEP

Robert E. Payne
Senior United States District Judge

 

* While the agency status of a plaintiff likely would be relevant
in a § 1983 action, which requires suit to be brought by a
“person,” that simply is not the case here because this action
is not brought under § 1983. See Virginia Office for Prot. and
Advo. _v. Reinhard, 405 F.3d 185, 189-190 (4th Cir. 2005)
(finding that VOPA, as a state agency, was not a “person”
within the meaning of 42 U.S.C. § 1983, and hence had no
standing to bring suit under that statutory provision).

17
